                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

UNITED STATES OF AMERICA                                )
                                                        )
v.                                                      )    Criminal No. 3:22-cr-00078
                                                        )    Judge Richardson
ROBIN SMITH                                             )
                                                        )

                    MOTION TO CONTINUE SENTENCING HEARING

       This is an unopposed motion to continue Defendant Robin Smith’s sentencing hearing,

currently scheduled for October 17, 2022, at 1:00 p.m.

       The plea agreement [D.E. 15] contemplates that Defendant will cooperate with the

government in this and related cases. It is anticipated that Defendant will testify in United States

v. Casada, et al., Criminal No. 3:22-cr-00282 (Judge Richardson), recently set for trial on October

25, 2022.

       The defense and the government suggest that the sentencing hearing in this case be

projected to the end of January of 2023, at the very earliest, given the projected length of the

Casada case with multiple defendants.

       Counsel is authorized to state that the government is not opposed to this motion and has

seen a draft of same prior to filing with this Court.




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                                                      Respectfully submitted,

                                                      /s/Wells Trompeter
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                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy was served via the Court’s electronic case filing
system to Amanda Klopf, Assistant United States Attorney, and John P. Taddei, Trial Attorney.


                                                      /s/Wells Trompeter
                                                      Wells Trompeter




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